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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                         




  Graciano,

                          Plaintiff,                                              20-cv-7359 (AJN)

                 –v–                                                                   ORDER

  Belami, Inc.

                          Defendant.


ALISON J. NATHAN, District Judge:

        It having been reported to this Court that this case is in the process of settlement, it is
hereby ORDERED that the above-captioned action is discontinued without costs to any party
and without prejudice to restoring the action to this Court’s calendar if the application to restore
the action is made within forty-five (45) days. To be clear, any application to reopen must be
filed within forty-five days of this Order; any application to reopen filed thereafter may be
denied solely on that basis.

        All scheduled conferences are hereby adjourned. Within the forty-five-day period
provided for in this Order, the parties may submit to the Court their own Stipulation of Dismissal
for the Court to So Order. Pursuant to Rule 5.A. of the Court’s Individual Practices in Civil
Cases, the Court will not retain jurisdiction to enforce a settlement agreement unless the terms of
the agreement are made part of the public record.

       SO ORDERED.


Dated: January 28, 2021


                                                      __________________________________

                                                              ALISON J. NATHAN
                                                              United States District Judge
                                                              New York, New York
